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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION


CRUSO R. WALLACE,

                               Petitioner,

v.                                                     CIVIL ACTION NO. 5:04-cv-00732
                                                       (CRIMINAL ACTION NO. 5:02-cr-00101-3)

UNITED STATES OF AMERICA,

                               Respondent.


                          MEMORANDUM OPINION AND ORDER

       Before the Court is Petitioner’s Motion for Reconsideration [Docket 253] of this Court’s

Memorandum Opinion and Judgment Order entered June 18, 2007. For the reasons stated herein,

the motion is DENIED.

       In its June 18, 2007 Judgment, the Court overruled Petitioner’s objections to Magistrate

Judge Stanley’s Proposed Findings and Recommendation [PF&R] recommending the denial of

Petitioner’s 28 U.S.C. § 2255 filing. Petitioner has timely moved for the Court to reconsider its

Judgment pursuant to Fed. R. Civ. P. 59(e).

       Rule 59(e) provides that “any motion to alter or amend a judgment shall be filed no later than

10 days after entry of judgment.”        Although Rule 59(e) does not provide a standard for

reconsideration motions, the Fourth Circuit has recognized three grounds for amending a previous

judgment: “(1) to accommodate an intervening change in controlling law; (2) to account for new

evidence not available at trial; or (3) to correct a clear error of law or prevent manifest injustice.”

Hutchinson v. Staton, 994 F.2d 1076, 1081 (4th Cir. 1993). Motions made pursuant to Rule 59(e)
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“may not be used, however, to raise arguments which could have been raised prior to the issuance

of the judgment, nor may they be used to argue a case under novel legal theory that the party had the

ability to address in the first instance.” Pacific Ins. Co. v. American Nat. Fire Ins. Co., 148 F.3d 396,

403 (4th Cir. 1998). Furthermore, “reconsideration of a judgment after its entry is an extraordinary

remedy which should be used sparingly.” Id.

        Upon consideration of Petitioner’s motion, he has cited no intervening changes in controlling

law. Nor has Petitioner brought forward any relevant “new evidence.” Finally, the Court does not

find that its Judgment contains any clear errors of law or is manifestly unjust. Rather, Petitioner’s

motion states that because he is pro se, he should be excused from having failed to have presented

the bases for his 28 U.S.C. § 2255 motion until after the magistrate judge filed her PF&R. As the

Court stated in its Memorandum Opinion, this failure was fatal to Petitioner’s claim, and will not

excused because Petitioner is pro se.

        Based on the above, the Court DENIES Petitioner’s Motion for Reconsideration [Docket

253]. The Clerk is directed to send copies of this Order to all counsel of record and any

unrepresented party.

                                                ENTER:          July 5, 2007




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